 Case 2:12-cr-00004-APG-EJY               Document 920         Filed 02/17/15    Page 1 of 3



     STIP
1    JONATHAN POWELL, ESQ.
     Nevada State Bar No. 009153
2
     2030 East Flamingo #115
     Las Vegas, Nevada 89119
3
     Telephone No.: (702) 413-7100
4
     Facsimile No.: (702) 382-2720

5    Attorney for Defendant

6                                   UNITED STATES DISTRICT COURT

7                                          DISTRICT OF NEVADA
8                                                      ***
9                                                                                      APG
      UNITED STATES OF AMERICA,                                CASE NO.: 2:12-cr-00004-MMD -GWF
10
                            Plaintiff,
11                                                             STIPULATION TO CONTINUE
      vs.                                                      SENTENCING
12
      JERMAINE SMITH,
13                 Defendant.
14

15             IT IS HEREBY STIPULATED AND AGREED, by and between JERMAINE SMITH, by
16   and through JONATHAN POWELL, ESQ., counsel for the Defendant, and the UNITED STATES
17
     OF AMERICA, by and through KIMBERLY FRAYN, Assistant United States Attorney, that the
18                                            February 26, 2015,
     sentencing, currently scheduled for February 18, 2015, be moved for 30 days, or to a time
19

20   convenient to this Honorable Court. If this Honorable Court is able to accommodate, the parties

21   are jointly requesting a time after March 15, 2015 but before April 12, 2015 due to scheduling
22
     issues.
23
               This stipulation is entered into for the following reasons:
24
               1. Defendant and counsel need additional time to prepare for sentencing and to gather
25

26                  information.

27             2. Counsel for the Government does not object to Defendant’s request for a continuance.
28
               3.   Defendant has no objection to a continuance of this matter. Defendant is in custody.
                                                         -1-
 Case 2:12-cr-00004-APG-EJY        Document 920          Filed 02/17/15    Page 2 of 3




         4. Denial of this request for continuance would result in a miscarriage of justice.
1

2        5. This request for a continuance is made in good faith and is not intended to delay the

3           proceedings in this matter.
4
         6. For all the above-stated reasons, the ends of justice would be best served by a
5
            continuance of the sentencing date.
6

7

8        DATED this 17th day of February, 2015.
9

10
          /s/ Jonathan Powell        _                         /s/ Kimberly Frayn        _
11       JONATHAN POWELL, ESQ.                          KIMBERY FRAYN
         Counsel for Defendant Smith                    Assistant United States Attorney
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                  -2-
 Case 2:12-cr-00004-APG-EJY            Document 920       Filed 02/17/15      Page 3 of 3



                                UNITED STATES DISTRICT COURT
1
                                       DISTRICT OF NEVADA
2
                                                  ***
3

4
     UNITED STATES OF AMERICA,                           CASE NO.: 2:12-cr-00004-MMD -GWF
5
                        Plaintiff,
6
                                                         ORDER GRANTING PRE-TRIAL
     vs.
7                                                        RELEASE
     JERMAINE SMITH,
8
                  Defendant.
9

10
                                          FINDINGS OF FACT
11
           1. Defendant and counsel need additional time to prepare for sentencing and to gather
12
                information.
13

14         2. Counsel for the Government does not object to Defendant’s request for a continuance.

15         3.   Defendant has no objection to a continuance of this matter. Defendant is in custody.
16
                                       CONCLUSIONS OF LAW
17
           1. Denial of this request for continuance would result in a miscarriage of justice.
18
           2. This request for a continuance is made in good faith and is not intended to delay the
19

20              proceedings in this matter.

21         3. For all the above-stated reasons, the ends of justice would be best served by a
22
                continuance of the sentencing date.|
23
                      17th day of _______________,
           DATED this ____         February        2015.
24          IT IS HEREBY ORDERED: Sentencing and disposition is continued to April 9, 2015 at 9:00 a.m.,
            Courtroom 6C.
25

26

27
                                                  ________________________________
28                                                UNITED STATES DISTRICT JUDGE
                                                  DATED:
                                                    -3-  February 17, 2015
